
In re Dobbins, Donald R.; Disciplinary Counsel; — Plaintiff(s); Applying for Joint Petition for Consent Discipline.
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
The Office of Disciplinary Counsel (“ODG”) commenced an investigation into allegations that respondent engaged in conduct prejudicial to the administration of justice. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Donald R. Dobbins, Louisiana Bar Roll number 20537, be publicly reprimanded.
IT IS FURTHER ORDERED that respondent shall enroll in and attend the next session of Ethics School offered by the Louisiana State Bar Association’s Practice Assistance and Improvement Committee.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
